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UNITED STATES DISTRICT COURT FH.E'D my 3 \
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RICKIE WHITTINGTON JUDGMENT IN A CIVIL CASE
v.
HUD-HOUSING AUTHORITY CASE NO: 05-2090-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND A.DJUDGED that in accordance with the Order of
Dismissal entered on June 2, 2005, this cause is hereby dismissed
without prejudice.

APPROVED:

 

ICE B. DONALD
ITED STATES DISTRICT COURT

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Da Clerk of Court

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 5 in
case 2:05-CV-02090 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Rickie Whittingtcn
P.O. BOX 30972
i\/lemphis7 TN 38130

chcrable Bernice Dcnald
US DISTRICT COURT

